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                          UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF IDAHO




UNITED STATES OF AMERICA,                       Case No. 4:12-cr-278-BLW
                     Plaintiff,
   v.
                                                ORDER MODIFYING TERMS OF
JUAN CARLOS GARCIA,                             SUPERVISED RELEASE

                     Defendant.




        Finding good cause therefore, and the matter having been remanded to this Court

for the purpose of considering this motion,

        NOW THEREFORE IT IS HEREBY ORDERED, that the motion for a ruling

consistent with indicative ruling (docket no. 280) is GRANTED.

        IT IS FURTHER ORDERED, that the Judgment as to defendant Juan Carlos

Garcia (docket no. 221) is MODIFIED. The following language is STRICKEN: “The

defendant is prohibited from having contact with any individuals identified by local law

enforcement agencies as documented gang members. The defendant is further prohibited

from possessing any item representing or showing affiliation with gangs and shall submit

to the seizure of any contraband.” The following language is SUBSTITUTED in its

place: “The defendant is prohibited from knowingly having contact with any individuals
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identified by local law enforcement agencies as documented gang members. The

defendant is further prohibited from knowingly possessing any item representing or

showing affiliation with the Mexican Mafia; the Young Crowd; or the Sureno gangs and

shall submit to the seizure of any contraband.

                                         DATED: February 24, 2016



                                         B. LYNN WINMILL
                                         Chief Judge
                                         United States District Court
